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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DAVID ZWICK,                                    )
                               Plaintiff,       )
v.                                              )       No. 14 C 5044
                                                )       District Judge Thomas M. Durkin
INTELIQUENT, INC., RICHARD MONTO,               )
and JOHN HARRINGTON,                            )
                        Defendants.             )




                       PLAINTIFF DAVID ZWICK’S REPLY BRIEF
                  IN FURTHER SUPPORT OF HIS MOTION TO COMPEL


INTRODUCTION

I.        Inteliquent Has Not Met Its Burden of Establishing The Attorney-Client Privilege.

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III.      Inteliquent and DLA Have Not Established That Any Attorney-Client Privilege and
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          A.    Any conceivable attorney-client privilege was waived when DLA (at the
                Audit Committee’s instruction) repeatedly shared the entire investigation
                with Deloitte.

          B.    Any conceivable attorney-client privilege was waived when DLA (at the
                Audit Committee’s instruction) shared the entire investigation with Guests of
                the Audit Committee.

          C.    Any conceivable work-product protection was waived by Inteliquent’s
                disclosures to the U.S. Department of Labor.

IV.       Zwick Has Demonstrated A “Substantial Need” For The Requested Materials.

V.        DLA Presents No Legitimate Basis To Bar Plaintiff From The Witness Of His
          Choice And Therefore The Court Should Compel Eric Roberts’ Deposition.
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                                       INTRODUCTION

       In June 2013, based on the flimsiest of accusations (Pl’s Exh. 19), Inteliquent began an

investigation into whether Inteliquent’s CFO David Zwick had caused Inteliquent to take an

improper impairment charge in Q4 2012; had engaged in improper financial forecasting; and had

engaged in certain improper expense reimbursement requests. (The investigation also included

whether CEO Ed Evans had engaged in certain improper expense reimbursement requests and

had improperly hired someone personally close to him into the company). This was a witch-hunt

pure and simple, as to both Mr. Zwick and Mr. Evans, and after Inteliquent engaged in a $2.4

million investigation, not a single accusation against Zwick or Evans related to the purported

basis for the Investigation was sustained.

       Inteliquent begins by arguing that Zwick’s use of the phrase “investigation into Plaintiff

Zwick,” is an “inaccurate description” Inteliquent Opposition (“Int. Opp.”) at 1, even though

Inteliquent has previously conceded that Zwick was a target of the Investigation. Regardless

what the Investigation is called, however, Inteliquent is correct that Zwick is seeking the entire

file related to it (and not just those portions of it that Inteliquent and DLA want to turn over).

Inteliquent and DLA provide no basis to prevent Zwick from this critically relevant discovery.

Zwick’s request includes: (1) all of DLA’s interview notes from its Investigation in un-redacted

form; (2) all written communications between DLA and Inteliquent about the Investigation; and

(3) DLA’s August 19 written Presentation to the Audit Committee and Guests. This motion also

requests a Court Order for Inteliquent and DLA to answer deposition questions on those topics,

as well as questions about DLA’s August 19 oral Presentation to the Audit Committee and

Guests (collectively, the “Requested Material”).




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        For their part, Inteliquent and DLA refuse to produce the Requested Material with the

exception of individual pages or portions of pages that they deem “relevant,” arguing that:

        (I)     all of the remaining documents and communications are protected by the
                attorney-client privilege;

        (II)    all of the remaining documents and communications are protected by the work
                product doctrine;

        (III)   DLA’s repeated disclosures of the same information to Deloitte, the Audit
                Committee Guests, and the DOL have done nothing to waive either protection;
                and

        (IV)    the work product exception set forth in Federal Rule of Civil Procedure
                26(b)(3)(A)(ii) does not apply.

Each of these arguments should be rejected.

I.      Inteliquent Has Not Met Its Burden of Establishing The Attorney-Client Privilege.

        The party seeking to block discovery on the grounds of the attorney-client privilege

carries the burden to establish each element of the privilege with respect to each document over

which it is asserting the privilege. U.S. v. White, 950 F.2d 426, 430 (7th Cir.1991) (privilege

must be established on document-by-document basis); United States v. Lawless, 709 F.2d 485,

487 (7th Cir.1983) (same); Evans v. City of Chicago, 231 F.R.D. 302, 312 (N.D. Ill. 2005)

(same). Courts in this circuit have long held that because the privilege is in derogation of the

search for truth it must be narrowly applied. E.g., Lawless, 709 F.2d at 487 (“The scope of the

privilege should be strictly confined within the narrowest possible limits”); Matter of Walsh, 623

F.2d 489, 493 (7th Cir.1980) (the “privilege is in derogation of the search for truth . . . and this

circuit has repeatedly held that it must be strictly confined”); Evans, 231 F.R.D. at 312 (“the

Seventh Circuit has directed that the scope of the privilege must be strictly confined within the

narrowest possible limits”); R.B.S. Citizens, 291 F.R.D. at 216 (same).



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       Because the privilege withholds relevant information from the fact finder and is

construed narrowly, it protects only those disclosures necessary to obtain informed legal advice

which might not have been made absent the privilege. Fisher v. U.S., 425 U.S. 391, 403; accord

Lerman v. Turner, No. 10 C 2169, 2011 WL 62124, at *3 (N.D. Ill. Jan. 6, 2011) (Brown, M.J.)

objections overruled, No. 10 C 2169, 2011 WL 494623 (N.D. Ill. Feb. 4, 2011) (Lefkow, J).

       The law is also clear that a party is not permitted to make a blanket claim of privilege, as

Inteliquent has done here with respect to the Requested Material. White, 950 F.2d at 430 (“A

blanket claim of privilege that does not specify what information is protected will not suffice”);

Lawless, 709 F.2d at 487 (“a blanket claim of privilege is unacceptable”). Rather, Inteliquent

must establish each element of the privilege on a document-by-document basis. See R.B.S.

Citizens, 291 F.R.D. at 216 (“The party seeking to invoke the privilege must bear the burden of

proving all of its essential elements . . . as to each document”) (internal quotations omitted;

emphasis added); Central States, Se. & Sw. Areas Pension Fund v. Nat'l Lumber Co., No. 10 C

2881, 2012 WL 2863478, at *2 (N.D. Ill. July 11, 2012) (Lefkow, J.) (same); Allendale Mut. Ins.

Co. v. Bull Data Sys., Inc., 145 F.R.D. 84, 86 (N.D. Ill. 1992) (same). Indeed, for some

documents, Inteliquent must make its showing on a statement-by-statement basis, because some

pages of a document may be primarily filled with discoverable investigatory findings and contain

only limited, if any, actual legal advice. Lawless, 709 F.2d at 487; Central States, 2012 WL

2863478, at *2. In such circumstances, the document must be produced, and only the protected

communications redacted. Id.; Matter of Walsh, 623 F.2d at493.

       Under Inteliquent’s burden, it must first establish that it sought “legal advice from a

professional advisor in his or her capacity as such” and that the specific communication at issue

related to the purpose of obtaining advice. Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600 F.3d



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612, 618 (7th Cir. 2009). Inteliquent, however, has failed to establish that it sought the DLA

investigators’ professional legal advice in their capacity as lawyers, and not merely as

investigators. As Inteliquent wrote clearly to the DOL, DLA was hired solely to investigate the

Hotline Allegations and acted only in an investigatory capacity with respect to the documents

that have been withheld. See Pl’s Exh. 2 at 3 (“Inteliquent’s board . . . determined that the Audit

Committee should investigate the allegations, and it authorized the Audit Committee to hire

independent outside professionals to assist in the investigation. Shortly thereafter, the Audit

Committee engaged DLA Piper . . .”).

       As with any dispute between two parties, the best evidence of the reason or scope of a

party’s action are the documents that are prepared contemporaneous with or near in time to the

action at issue. This important fact is especially significant here where – before this discovery

dispute ever arose – Inteliquent repeatedly reduced to writing its purpose in hiring DLA and

what it understood to be the scope of DLA’s retention. Only after this discovery dispute arose

did Inteliquent’s stated reason for DLA’s retention and the scope of DLA’s engagement morph

from what Inteliquent previously told the DOL under oath to what they now want this Court to

believe. The Court should reject Inteliquent’s recent shift of position and base its ruling on the

position Inteliquent staked out clearly before the DOL.

       First, Inteliquent repeatedly told the DOL that it hired DLA because of the Hotline

Allegations and that the company authorized the Audit Committee “to hire independent, outside

professionals to assist in the investigation” of the Hotline Allegations. (Pl’s Exh. 2 at 3; Pl’s

Exh. 3 at ¶¶ 2-4, 29 (Defendant Monto declares under penalties of perjury that because of an

“anonymous report via Inteliquent’s internal ethics hotline, the Audit Committee retained outside

professionals to “assist in the investigation”); Pl’s Exh. 4 at ¶¶ 2-4, 12 (Audit Committee Chair



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Ingeneri declares under penalties of perjury that because of an “anonymous complaint,” the

Audit Committee retained outside professionals to “help with the investigation”).

       Notwithstanding Ingeneri’ s and Monto’s own prior declarations stating simply and

precisely that DLA was hired to assist with the Audit Committee’s investigation of the Hotline

Allegations, Inteliquent now mocks the suggestion that DLA was retained “merely to ‘assist’ as

‘investigators,’” (see Int. Opp. at 5 (the internal quotation marks are Inteliquent’s). Inteliquent

tries to fix these admissions with a brand new Ingeneri affidavit (id.; Int. Opp. Exh. 1), in which

he now repeats that his Committee retained DLA “to assist in the investigation,” but for the first

time adds a self-serving definition of the words “to assist in the investigation” to now mean “to

conduct and provide legal advice in connection with the investigation rather than, for example,

simply hiring an accounting firm to perform a forensic examination.” (Int. Opp. Exh. 1, at ¶ 7.)

Nowhere in the 20-page letter to the DOL (Pl’s Exh. 2), the 29-paragraph Monto Declaration

(Pl’s Exh. 3), or Ingeneri’s original declaration (Pl’s Exh. 4) did Inteliquent ever once previously

state anything whatsoever about hiring DLA to provide legal advice in connection with the

investigation.

       Indeed, to this day, Inteliquent never really identifies the legal advice it purportedly

received from DLA. In other words, Inteliquent does not explain how DLA went beyond

reporting what it learned in its investigation or the nature of the “advice” that was in fact

provided. In 30 pages of briefs, Inteliquent and DLA never once say, “DLA specifically advised

on the issue of X” or “DLA specifically advised on the issue of Y.” Perhaps Inteliquent would

prefer to rely on the Court to sift through hundreds of pages of withheld documents and figure

out on its own where DLA gave advice and where it didn’t, but:




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       (1) it is the Inteliquent and DLA’s burden to establish all elements of their claim to
           discovery protection, and it should not fall upon the Court to develop that argument
           or ferret out the supporting evidence for them;

       (2) Zwick submits that in any event, in reviewing the interview notes and the August 19
           DLA Presentation, the Court will not find any “legal advice,” and

       (3) Even if the Court does find some document that arguably contains “legal advice” (and
           separately concludes that such legal advice was not subsequently waived by its
           disclosure to others), then the Court can order Inteliquent and/or DLA to redact only
           those portions of the notes and/or presentation and allow Zwick to access to the
           remainder.

Had Inteliquent and/or DLA engaged in a good faith attempt to identify what was in fact

protected by the attorney-client privilege, instead of a document dump on the Court and

invocation of a blanket privilege, which the cases clearly prohibit, then this could conceivably be

a closer case, but Inteliquent chose to assert a blanket privilege where clearly none attached, and

that blanket privilege should summarily be denied.

       Inteliquent attempts the same basic approach of now trying to change the intention of the

DLA Engagement Letter at the time it was entered. (Pl’s Exh. 5). That letter, which Ingineri

reviewed and signed on June 10, 2013, specifically contains an express “Limitation on the Scope

of Engagement,” stating “our representation of the Audit Committee does not include

representation of any of its affiliates . . . [and] the Firm owes no attorney-client duties to . . .

affiliates other than the Audit Committee, even if the Audit Committee might owe them

fiduciary or other duties.” (Id. at 1.) Similarly, the Engagement Letter specifically identifies

the scope of the engagement as:

   (1) conduct a preliminary review of [the complaints against senior management received

       through Inteliquent’s internal anonymous complaint system];

   (2) make recommendations “with regard to appropriate follow-up”; and

   (3) conduct “any internal investigation” that may be necessary.

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Id. at ¶ 1. Nowhere in the letter’s actual “scope language” does it state that DLA was to provide

legal advice. Interestingly, Inteliquent argues (without citation to authority) that DLA’s “very

typical engagement letter” and its “standard provisions regarding progress and reporting of

advice” establish that DLA’s investigative work was for the purpose of offering legal advice, but

this argument is a nonstarter. Indeed, judges in this circuit have rejected this very argument.

See, e.g., Domanus v. Lewicki, No. 08 C 4922, 2012 WL 6568227 at *5 (N.D. Ill. Dec. 14, 2012).

In Domanus, Magistrate Judge Rowland specifically held that the boilerplate language in

attorney correspondence “cannot confer privilege”.           In this case, the Inteliquent/DLA

Engagement Letter uses the word “advise” only once and “advice” only once. First, it uses a

“standard provision” opening sentence (Inteliquent’s own words) that it has been hired to

“advise,” but later where the scope of the engagement is spelled out in detail, there is no mention

whatsoever of the word “advise.” Similarly, Inteliquent relies on the word “advice” on the

second page of the Engagement Letter, but the “advice” referred to there is nothing more than

providing “advice on the progress of the investigation,” not legal advice on legal issues. Indeed,

Inteliquent attempts to twist the sentence into pretzel knots by referring to it as a “standard

provision . . . regarding progress and reporting of advice.” Int. Opp. at 3. Even putting aside that

Inteliquent’s twist on this sentence makes no sense, more importantly it does not accurately

portray this key sentence. In actuality, the cited sentence says nothing more than that DLA will

advise the Audit Committee on the progress of its investigation, not provide legal “advice.”

       In sum, the tailored language of DLA’s Engagement Letter and the actual work that

DLA performed establish clearly that no attorney-client privilege for this investigation attached

in the first instance. Just as in Wartell v. Purdue Univ.y, Case No.13 CV-99, 2014 WL 4261205

(N.D. Ind. Aug. 28, 2014) (Miller, J.), the DLA investigators performed tasks such as



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interviewing, inspecting, and engaging in conversations “that generally remove the attorneys’

activities form the purview of the attorney-client privilege.” Id. at *5.    Hiring an attorney to

conduct an investigation that the Audit Committee itself could have conducted does not cloak the

investigation in privilege. Id.; Cf. also Sandra T.E., 600 F.3d at 618-19 (finding privilege

specifically because attorneys were hired as attorneys, and conducted themselves as such, and

not just as investigators, with regard to specific articulated claim).

         In sum, it is Inteliquent’s burden to establish that its engagement of DLA was far broader

than what it states in the Engagement Letter and far broader than what Inteliquent repeatedly

(and under oath) told the DOL. It has not and cannot do so, and it cannot meet its burden to

establish that Zwick’s access to the communications is barred by the attorney-client privilege.

II.      DLA Has Not Met Its Burden of Establishing That The Requested Material Is
         Attorney Work Product.

         The work product doctrine provides that a lawyers’ mental impressions, conclusions,

opinions, or legal theories during (or in anticipation of) litigation are immune from discovery,

but that factual information that an attorney collects during litigation (or in anticipation of

litigation) is generally not protected. R.B.S. Citizens, N.A. v. Husain, 291 F.R.D. 209, 216

(2013). The doctrine also provides that where the discovering party has a substantial need for

the discovery, that need may trump the concerns expressed by the work product doctrine, and

work product privilege may be overborne. Fed.R.Civ.P. 26(b)(3).

         It is well settled that the threshold determination in a case involving a claim of work

product privilege is whether the material sought to be protected from discovery was prepared

during litigation or in anticipation of litigation. Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600

F.3d 612, 618 (7th Cir. 2009); Logan v. Comm. Union Ins. Co., 96 F. 3d 971 (7th Cir. 1996);

Binks Mfg. Co. v. Natl. Presto Indus., Inc., 709 F.2d 1089, 1118 (7th Cir. 1983). The courts have

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repeatedly expressed concern that if the work product doctrine is applied in an overbroad manner

it “becomes an all-encompassing shroud of secrecy that is at once at odds with the federal rules’

liberal discovery policy and the protection of attorney’s thought processes and strategies the

doctrine was designed to be.” E.g., Allendale Mut. Ins. Co. v. Bull Data Sys., Inc., 145 F.R.D.

84, 86-87 (N.D. Ill. 1992). As Magistrate Judge Bobrick pointed out in Allendale,

       Rather than using the doctrine to immunize these [litigation] strategies and opinions from
       discovery, some discovery opponents seem to use the doctrine to relieve themselves of
       the burden of producing factual information accumulated in what appears to be routine
       investigations. Accordingly, we have found it helpful to express the elements of the work
       product doctrine into the concepts of “causation” and “reasonable anticipation” of
       litigation.

Id. at 87. Therefore, a court must look to whether in light of the factual context “the document

can fairly be said to have been prepared or obtained because of the prospect of litigation.”

Logan, 96 F.3d at 977 (quoting Binks) (emphasis in original); see also Fed.R.Civ.P. 26(b)(3).

       Both Inteliquent and DLA refer to a subsequently filed (and shortly thereafter dismissed)

securities action as if that somehow retroactively changes the nature of DLA’s investigation.

The Seventh Circuit rejected this argument years ago in the seminal Binks decision: “The mere

fact that litigation does eventually ensue does not, by itself, cloak materials prepared by an

attorney with the protection of the work product privilege; the privilege is not that broad.” Binks,

709 F.2d at 1118. Indeed, even one of DLA’s own cited cases, U.S. v. S. Chicago Bank, No. 97

CR 849, 1998 WL 774001 (N.D. Ill.) (Zagel, J.), likewise rejected such a claim: “Documents

prepared in the ordinary course of business or based upon a mere contingency of litigation are

not work product, and neither are documents that would have been created in essentially the

same form, irrespective of litigation.” Id. at *7, citing Binks Mfg., 709 F. 2d at 1119.

       DLA, however, makes the additional unique argument that work-product protection

should be found here “given the nature of plaintiff, class-action securities firms, [which] all but

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guaranteed the Company would find itself in litigation.” DLA Opp. at 10. In other words, DLA

wants this Court to adopt a rule that any time a company announces an investigation into the

company’s earnings reports or its financial forecasting, then any internal investigation is

protected work product because it is inevitable that one of those big bad plaintiff class action

securities firms will eventually sue the company. If the Court were to take this argument

seriously, it would in fact suggest quite the opposite of Binks: that the work-product protection

applies to every attorney-conducted investigation involving this subject matter given the all-but-

“guarantee” that these class action firms present. This unsupported “guarantee” argument was

discredited by Binks and should be outright rejected here.

       The bottom line is there was no litigation at the time that DLA was hired; there was no

anticipation of litigation that was ever discussed between DLA and Inteliquent (or certainly not

that DLA or Inteliquent have brought forward); there is no mention of anticipated litigation in

the DLA Engagement Letter (indeed, any such mention is specifically absent from the “scope of

the engagement”); there was no mention of anticipated litigation when Inteliquent repeatedly

described DLA’s retention to the DOL; and there was no mention of anticipated litigation when

several Inteliquent Officers swore under penalties of perjury that the reason DLA was hired was

to assist in an internal investigation of the Hotline Allegations. There is no work product

protection over the withheld DLA materials, and Mr. Zwick respectfully requests this Court to

order their immediate production.1




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              DLA argues that it has already met all of its obligations to produce documents in
response to Zwick’s subpoena, asserting on pages 5-6 that during a December 11, 2014 meet and
confer Zwick agreed to modify his subpoena from all Investigation documents in DLA’s
possession to just a few documents that were identified during that call. DLA Opp. at 5-6.
DLA’s argument should be summarily rejected because no such subpoena modification ever
occurred and no such agreement was ever reached.                                  footnote cont.,
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III.   Inteliquent and DLA Have Not Established That Any Attorney-Client Privilege and
       Word Product Protection Was Not Waived.

       As noted above, it is Inteliquent’s and DLA’s burden to establish all of the elements of

the attorney-client privilege and work protect protection. One of those elements is “except the

protection be waived.” White, 950 F.2d at 430. In crafting an eight-part test for the attorney-

client privilege, courts have long held (indeed, going all the way back to Wigmore) that it is not

just the withholding party’s burden to prove the privilege, it is also the withholding party’s

burden to prove that waiver has not occurred. Id. (“The burden falls on the party seeking to

invoke the privilege to establish all the essential elements”). For the reasons stated immediately

below, neither Inteliquent nor DLA have met their burden related to waiver.

           A.      Any conceivable attorney-client privilege was waived when DLA (at the
                   Audit Committee’s instruction) shared the investigation with Deloitte.

       On page 9 of its Opposition, Inteliquent concedes, as it must, that sharing factual

information from the DLA Investigation with its outside auditors Deloitte waived the attorney


        During the December 11 call, it became immediately clear that Mr. Collins, DLA’s new
representative, was not familiar with any of the central issues being discussed. Both Zwick’s and
Inteliquent’s counsel explained to DLA’s counsel that DLA and Inteliquent had already waived
any claim of attorney work product or attorney work product that might apply to the “Zwick-
Burgener Conversation.” In addition, Collins agreed on the call to try to answer some of Zwick’s
basic inquiries, such as whether Smith, King, or Roberts took any notes taken during the August
19 DLA Presentation, whether DLA had entered into any supplemental engagement letter with
Inteliquent, and whether there were emails between DLA and Inteliquent that led up to or
immediately followed the August 19 DLA Presentation. At no time during that meet and confer
was there any discussion, agreement, or even suggestion by Zwick or DLA that the production of
such items was in lieu of or in satisfaction of the broader request set forth in Zwick’s subpoena.
Indeed, it was not until almost six weeks later, that Collins raised for the first time the notion that
documents discussed during the meet and confer would satisfy the subpoena, stating, “[w]e
proceeded under the good faith presumption that those 4 categories would satisfy the subpoena.”

       Now, in response to the motion to compel, Mr. Collins’ “presumption,” first mentioned
on January 19, has morphed into Zwick’s December 11 “agreement,” an agreement on which
Zwick’s counsel has now “reneged.” DLA Opp. at 6. DLA’s assertion of a reneged agreement
is wholly concocted; there is no one shred of evidence to support it; and this Court should
summarily reject it.
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client privilege with respect to any such shared information. Int. Opp. at 9. Here, there is

massive evidence that DLA shared factual information from its investigation with Deloitte.

        First, Defendants Inteliquent and Monto have repeatedly stated that they authorized DLA

to share the materials from the investigation with Deloitte. Pl’s Exh. 2 at 6-7 (the Inteliquent

Audit Committee authorized DLA to provided Deloitte with updates of its Investigation); Pl’s

Exh. 3 at ¶ 7 (“authorized DLA Piper to provide Deloitte with period updates regarding its

work”); Id. at ¶ 8 (DLA provided Deloitte an update on August 14).

        Second, on August 2, 2013, Deloitte’s Brad Garret told Zwick that DLA Piper was giving

Deloitte “daily updates” about the Investigation. Exh. 18.

        Third, between the time that DLA made its August 19 Presentation and the time

Inteliquent terminated Zwick, DLA arranged to give Deloitte a final briefing about the

Investigation that it had just completed. From a lengthy e-mail chain on the subject, it appears

that DLA gave Deloitte that additional briefing on August 20, 2013. Pl’s Exh. 20.

        Fourth, during that same email exchange to set up the final briefing, DLA’s Jon King

admitted that Deloitte was in possession of all the emails that DLA had used during its

Investigation. August 19, 2013 King to Monto Email, Exhibit 20, at 1 (“Deloitte is more well-

versed in the facts, having seen all of the emails . . . ”).

        Inteliquent concedes that these communications waive the attorney-client privilege, but,

along with DLA, assert that such communications do not waive the work-product doctrine

because Deloitte was not Inteliquent’s adversary at the time and therefore did not increase the

likelihood that the DLA’s protected work product (if any), would be disclosed to adverse parties.

The two big problems with this argument are: (1) it assumes the work-product doctrine applies in

the first instance, when in fact for all the reasons stated above, it does not; and (2) it does not



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accommodate for the fact that Inteliquent also substantially used facts from DLA’s underlying

“financial issues” investigation in an attempt to persuade the DOL that it had not retaliated

against Zwick. The disclosures to the DOL waived any work-product protection that conceivably

may apply to the Requested Materials, and that waiver is set forth in Section III.C. below.

               B.      Any conceivable attorney-client privilege was waived when DLA (at
                       the Audit Committee’s instruction) shared the entire investigation
                       with Guests of the Audit Committee.

       As noted in Zwick’s Motion [Dkt. 31, at 2] and also above in Section I, the Inteliquent

Audit Committee and DLA entered into an Engagement Letter that specifically cabined the

relationship between them.      DLA made it a special condition of the engagement that it

represented only the Audit Committee and none of its affiliates. (The reason DLA may have

demanded this provision was so that if a separate client later wanted to sue Inteliquent, this

engagement for the Audit Committee would not have stopped DLA from doing so.) But the

“reason” for the limitation is really beside the point. The fact is that the two parties agreed to

the limitation, including the sentence stating,

       [DLA’s] representation of the Audit Committee does not include representation of any of
       its affiliates . . . [and] the Firm owes no attorney-client duties to . . . affiliates other
       than the Audit Committee, even if the Audit Committee might owe them fiduciary or
       other duties.

Id. at 1. When the Audit Committee invited three non-Audit Committee Board Members to the

August 19 DLA Presentation, the Committee waived any privilege it had with respect to that

Presentation. Inteliquent argues that this cannot be so because any legal advice that DLA gave to

the Audit Committee would eventually need to be shared with the full Board. Int. Opp. at 10-11.

But Inteliquent and the firm it retained, DLA, cannot have it both ways. They cannot expressly

agree to limit the representation to the Audit Committee, and then when that provision becomes

inconvenient, allow Inteliquent to behave as if that provision does not exist. Once DLA insisted

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on this provision and once Inteliquent acquiesced in it, one of two things was inevitable:

(1) either the Audit Committee – and only the Audit Committee – had to report its

recommendation to the full Board without disclosing DLA’s purported “legal advice” (of which

we believe there was none), or (2) the Audit Committee would have to waive the privilege with

respect to any portion of DLA’s purported legal advice that it chose to share with the full Board.2

       Inteliquent and DLA put themselves in the position of limiting what could be shared with

the full Board without waiving the privilege, and now they behave as if Zwick is to blame for

suggesting that the “well-established” law on this issue is inapplicable. (See Int. Opp. at 10,

citing Lawrence E. Jaffee Pension Plan v. Household Intl., Inc., 244 F.R.D. 412, 427 (N.D. Ill.

2006), and an additional out-of-circuit case). But the cases on which Inteliquent relies involved

the Audit Committee and its affiliates retaining a law firm for legal advice, not a case such as

this where the Audit Committee with an express exclusion of affiliates retained a law firm to

assist in an internal investigation. It is for this reason that the isolated quote that Inteliquent

provides from Jaffee is inapplicable.

       In sum, when the Audit Committee invited outside guests to the DLA presentation, any

attorney-client privilege that may have attached to the DLA Presentation was then waived.



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                It is not at all unusual for a public company’s Audit Committee to retain its own
counsel that is independent of both the Company’s inside lawyers and also independent of the
Company’s outside counsel, but when it does so, it is more than a legal fiction. Most companies
– at least most careful companies – meticulously maintain the privilege between the Audit
Committee and its outside lawyers. This is why when one of Zwick’s counsel recently
interviewed for retention by an audit committee, the Company’s General Counsel made the
introduction to the Audit Committee members and then immediately left the room, fully
understanding that the Company’s General Counsel represents the Company, not the Audit
Committee, and that his presence in the room would destroy any privilege that existed. In this
case, the fact that the Audit Committee so blithely invited both the Company’s General Counsel
and three non-Audit Committee Board Members to DLA’s presentation actually supports
Zwick’s argument that neither Inteliquent nor its Audit Committee ever considered the DLA
Presentation to be protected by the attorney-client privilege in the first instance.
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               C.     Any conceivable work-product protection was waived by Inteliquent’s
                      disclosures to the U.S. DOL.

       As DLA concedes, this Court must consider Federal Rule of Evidence 502(a) in assessing

whether DLA’s purported work protect protection was waived. Rule 502(a) provides that a

lawyer waives a claim of “work product” when he or she makes an [1] intentional disclosure of

some of the material; [2] the disclosed and undisclosed material concern the same subject matter,

and [3] fairness requires considering the material together.      Subject matter waiver applies

therefore where “fairness requires a further disclosure of related, protected information, in order

to prevent a selective and misleading presentation of evidence to the disadvantage of the

adversary.” Fed. R. Evid. 502 adv. comm. nn. (2007). Properly applied, Rule 502(a) mandates

that when Inteliquent and DLA made selective disclosures to the DOL from DLA’s claimed

work-product-protected materials and did so at a time when the DOL was investigating

Inteliquent’s actions towards Zwick, DLA and Inteliquent fully waived any work-product

protection that ever could have attached to DLA’s materials.

       DLA correctly observes that subject matter waiver under Fed. R. Evid. 502(a) is limited

to situations where the privilege holder seeks to use the disclosed material for its advantage

while denying the adversary access to additional materials that could provide an important

context to the disclosed material. DLA Opp. at 13. As the Seventh Circuit has made clear, the

Rule 502(a) determination of whether the undisclosed material ought to be considered with the

disclosed material requires a case-specific analysis of the subject matter and the adversaries. See

Appleton Papers, Inc. v. EPA, 702 F.3d 1018, 1026 (7th Cir. 2012).             Yet DLA fails to

acknowledge the simple application of the rule to the facts here, and instead relies on a

misrepresentation of Mr. Zwick’s position. In this case, when Inteliquent and its counsel were

before the DOL, they relied on detailed and specific disclosures of the investigation in order to

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further their accusations against Mr. Zwick, and the arguments and specific disclosures they

made before the DOL mirror those being made against Mr. Zwick in this action. And, even

though Inteliquent and DLA continue to assert the false dichotomy between the “Financial”

portion of the investigation and the “Zwick-Burgener Conversation” portion of the investigation,

the fact is that Inteliquent repeatedly attempted to justify its investigation of Mr. Zwick to the

DOL by emphasizing the financial issues that were the original, underlying, purported basis for

the investigation. See Pl’s Exh. 2 at 3-4 and 6-8.

       This is precisely the type of situation in which courts in this Circuit have ordered

production under Rule 502(a). See, e.g., In re Aftermarket Filters Antitrust Litig., No. 08 C

4883, 2010 WL 4622527, at *6 (N.D. Ill. Nov. 4, 2010) (Brown, M.J.) (finding it unfair to allow

plaintiffs to selectively produce to defendants one document regarding a disputed subject matter

while withholding an additional document regarding the same subject); Trustees of the Elec.

Workers Local No. 26 Pen. Trust Fund v. Trust Fund Advisors, Inc., 266 F.R.D. 1, 11 (D.D.C.

2010). Any purported work product protection that DLA asserts was therefore waived when

Inteliquent obtained some of DLA’s purportedly protected documents and used them during the

DOL investigation to defend its retaliatory termination of Zwick.

       In addition, there are at least three reasons that this Court should reject DLA’s assertion

Zwick’s 502(a) argument is merely speculative. First, because a party asserting waiver under

Rule 502(a) never has access to the materials being withheld, every party in this situation could

assert that a 502(a) argument is merely speculative. (“You have no idea whether the disclosed

and undisclosed documents are sufficiently connected because you have never seen the

undisclosed documents.”). This is not a valid basis to deny a Rule 502(a) assertion out of hand.




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       Second, the entire rationale behind Rule 502(a) is that fairness compels discovery of the

full context of the self-serving disclosures from the DLA Investigation on which Inteliquent

relied before the DOL, and not simply those portions of DLA documents that Inteliquent chose

to use against Mr. Zwick. (See Zwick’s Mem. at 12-13.)

       Third, Mr. Zwick’s substantive argument as to pretext is based on substantial evidence

already developed. It is based on the incredibly weak nature of the allegations against Zwick and

Evans in the first instance. See Exhibit 19. It is also based on the fact that the CFO who

immediately preceded Mr. Zwick repeatedly missed their earnings estimates and he was never

investigated, and the CFO who followed Mr. Zwick at Inteliquent repeatedly missed his earnings

estimates and he was never investigated. Why is that? It is also based on the fact that Inteliquent

tried to hire Mr. Burgener back into Inteliquent less than seven months after terminating him for

behavior that Inteliquent has referred to as “misconduct” and “critical misdeeds.” Compare Pl’s

Exh. 10 (emails re: re-hiring Mr. Burgener) with Pl’s Exh. 2, at 1-2, 8-9 (Zwick and Burgener

terminated for obstructing the investigation and lying to the DLA investigators, variously

described as their “misconduct,” “critical misdeeds,” and “management integrity concerns”). If

that is not compelling evidence of pretext (hiring someone back who just engaged in lying during

and obstructing an investigation), then whatever could be?

IV.    Zwick Has Demonstrated A “Substantial Need” for the Requested Materials.

       Federal Rule of Civil Procedure 26(b)(3)(A)(ii) provides that even if documents are

protected under the work-product doctrine, they may still be discovered if they are otherwise

discoverable under Rule 26(a)(1) and the party seeking the documents has “substantial need for

the materials to prepare its case, and cannot, without undue hardship, obtain their substantial

equivalent by other means.” Fed. R. Civ. P. 26(b)(3)(A)(ii).



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       Here, Mr. Zwick has demonstrated a substantial need for the materials being withheld

and there is no other way to obtain the materials other than through DLA. DLA’s sole argument

is that Zwick’s assertion of substantial need depends “entirely on the speculation that something

within DLA’s work-product will support his theory.” DLA Opp.at 13-14. But, as noted with

respect to Rule 502(a), couldn’t this be said of every party who has ever asserted substantial need

for documents being withheld on work product grounds?

       But there is a more fundamental reason: Rule 26(b)(3)(A)(ii) does not talk about the

whether the documents for which the discovering party has substantial need will ultimately be

powerful enough to prove that party’s case; it doesn’t say that a party is only entitled to invoke

Rule 26(b)(3)(A)(ii) if the Court is 100% convinced that once turned over, the material will win

the case for the requesting party. Therefore, DLA’s reliance on the Logan case is easily

distinguishable on the simple ground that unlike the allegations in Logan, Zwick’s allegation of

pretext is neither “mere,” “naked,” nor “a fishing expedition.” Here, Mr. Zwick has already

presented substantial evidence to support his claim of pretext. See supra at 17.

       Finally, we are pleased that DLA has turned over some of the documents at issue to the

Court for in camera review. We would certainly have requested it if DLA had not volunteered

it. Indeed, we are willing to go a step further. If the Court, after reviewing the documents has

any additional questions about the relationship between the documents over which DLA has

already waived work product and the documents over which they have continued to assert work

product (and now submitted to the Court), we would be happy to answer and indeed, bring

Mr. Zwick in to answer, any of the Court’s questions in support of our claim for substantial need

under Rule 26(b)(3)(A)(ii).




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V.      DLA Presents No Legitimate Basis To Bar Plaintiff From The Witness Of His Choice
        And Therefore The Court Should Compel Eric Roberts’ Deposition.

        For all the reasons already stated above in Sections I-IV, DLA’s August 19 written

Presentation to the Audit Committee and its Guests is fully discoverable, both the written and

oral portions. That presentation and the one that followed to the full Board clearly led to

Mr. Zwick’s termination, and neither Inteliquent as a party nor DLA as a subpoenaed party have

met their respective burdens of establishing that the information may be withheld.

        Respectfully, in addition to ordering production of DLA’s written Presentation, the Court

should also compel the deposition of Eric Roberts, one of the DLA attorneys who was present

for the August 19 oral Presentation and for whom DLA seeks this Court’s “protection.” As an

initial matter, it is very odd that DLA now refuses to produce Mr. Roberts, given that DLA’s

General Counsel Charlie Deem had previously written:

        With Thanksgiving next week, it doesn’t look like we will be able to pull together Eric
        Roberts for Monday, [Nov. 24]. Let me get some alternative dates and propose those.

        Patrick Smith is based out of our New York office. I want to confirm that any deposition
        of Mr. Smith will take place in New York. I will check on possible dates for Messrs. Jon
        King and Patrick Smith, as well.

The deposition was later scheduled for December, but then postponed once again until January

14, 2015, but despite DLA’s express agreement to produce Mr. Roberts for deposition on

January 14, 2015, as well as confirmation of that deposition, DLA unilaterally cancelled the

deposition on January 13 and made clear it would not produce Mr. Roberts without a Court

Order (or at least Court resolution of the privilege and work product issues).

        DLA asserts four reasons why this Court should quash Roberts’s subpoenaed deposition.

First, it asserts that Mr. Roberts’ deposition would be unreasonably cumulative and duplicative

on the issue of DLA’s August 19 oral Presentation. (DLA’s Opp. at 4, citing Fed. R .Civ. P. 26.)


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DLA makes this argument notwithstanding that not a single DLA deposition has yet been taken

in the case. What DLA is really arguing is not that the deposition would be “cumulative” or

“duplicative” of depositions that have already occurred, but rather that DLA wants Zwick to

depose the attorneys that DLA wants Zwick to depose about this issue and not the attorneys that

Zwick wants to depose on this issue. This is not a basis to quash the subpoena.

       Nor will the August 19 oral Presentation actually receive duplicative treatment later if

and when DLA attorneys King and Smith are deposed. We have repeatedly told DLA that we

would not ask three different DLA attorneys about DLA’s August 19 oral presentation, see e.g.,

Exhibit 15, but DLA does not want to take yes for an answer and it continues to argue that “there

is no justification for deposing three DLA attorneys about the same exact presentation.” (DLA’s

Opp. at 5.)     DLA concedes in its brief that “two depositions should clearly suffice”

on this issue,” Id., and we agree. But DLA must not be allowed to dictate who Mr. Zwick gets

to question about the conference call that led to Mr. Zwick’s termination. And contrary to

DLA’s argument, Rule 26 does not require that Zwick to depose the lawyer who was the “most

involved” or that is “most senior” or that DLA “most wants to put up.” DLA has not provided

any case law that supports that notion, and indeed, there is none.

       DLA’s second argument is that during the meet and confer process, Zwick’s counsel

refused to answer Mr. Collins’ repeated demands for the questions that Zwick’s counsel intended

to ask Roberts, DLA Opp. at 4, and that by refusing to do so, Zwick made a “tacit admission that

Roberts’ deposition is entirely unnecessary.” Id. at 5. Zwick has made no such admission, tacit

or otherwise. Zwick’s counsel is not obliged to headline their deposition plan for Inteliquent and

DLA. It is was more than enough that Zwick informed DLA in good faith that the focus with

Roberts would be the August 19 oral Presentation in which he participated and that Zwick’s



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counsel wanted to depose Roberts first on this issue. We did not believe then and still do not

believe now that Zwick is required to justify to DLA the reasons for preferring one over another

or that we are required to inform DLA of the questions that we were going to put to Mr. Roberts.

       DLA’s third argument appears to be that as a “second year associate” (he is now a fourth

year associate), Mr. Roberts needs this Court’s special protection from having to give his

deposition, and that the Court should instead force Zwick to depose the two Co-Chairs of DLA’s

White Collar Investigations Department on this issue. We have more confidence in Mr. Roberts’

ability to handle the deposition than does DLA. Mr. Roberts is a 2008 graduate of Duke

University and a 2011 graduate of the Duke Law School. According to a May 2011 Duke Law

newsletter, Mr. Roberts was one of the honorees at his law school graduation ceremony, based

on his school work in Environmental Law. In 2013, at the same time he was working on this

case, it appears Mr. Roberts was the principal draftsman on a brief in the Illinois Supreme Court.

Third-party lay witnesses – even those without law degrees – have their third-party depositions

taken every day. Mr. Roberts is more than capable of sitting for his.

       Nor does DLA’s fourth argument – that King and Smith (and not Roberts) actually made

the August 19 oral Presentation – alter the result. Usually it is the person listening – and not the

person talking – who has a clearer picture of what was actually said; that is especially true in this

instance where one would anticipate that a second-year associate added to the conference call

would be taking notes of the call. (Why else is DLA charging for his time on the call if he has no

role?) DLA and Inteliquent both insist, however, that there are no notes of the conference call.

Does that mean that no notes were ever taken or that notes were in fact taken and then

subsequently destroyed? Among other things, Mr. Roberts’ deposition will get to the bottom of

DLA’s odd response regarding the complete absence of notes.



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       In sum, there is no necessary or logical basis to bar Mr. Roberts’ deposition, and

Mr. Zwick respectfully requests this Court to grant his motion to compel Roberts’ deposition.

                                        CONCLUSION

       For all these reasons, Mr. Zwick requests this Court to grant his motion to compel in its

entirety and order as follows:

       1. The attorney-client privilege does not attach to the DLA Investigation.

       2. The work product doctrine does not attach to the DLA Investigation.

       3. Even if either of these two protections existed in this instance, the protections have
          been waived or otherwise overborne by one or more of the following disclosures in
          combination with Federal Rule of Evidence 502(a):
             a. Disclosures to Deloitte;
             b. Disclosures to the Audit Committee Guests; and
             c. Disclosures to the Department of Labor.

       4. Even if any work product protection is left after applying the principles set forth
          above, Zwick has established a substantial need for the documents within the
          meaning of Federal Rule of Civil Procedure 26(b)(3)(A)(ii).

       5. DLA Attorney Eric Roberts is compelled to appear for his deposition at the offices of
          Plaintiff Zwick’s counsel on a date to be agreed upon within 21 days of the Court’s
          order.

       6. Any other relief that the Court deems just and proper.


Dated: February 21, 2015                                    Respectfully submitted,

                                                            David Zwick
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                                  CERTIFICATE OF SERVICE

       I certify that on Saturday, February 21, 2015, I caused a true and correct copy of the

foregoing document to be served on all counsel of record via the Court’s ECF system.



                                                               /s/ Stuart J. Chanen




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